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IN THE UNITED sTAmEs DIsTRIcT coURT HHH}BY"
FoR THE wEsTERN DISTRICT oF TENNEssEE .
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.U.S. §§ JT COLBT
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Plaintiff,

v. No. 00-2863 Ml/P
PUBLIC PROPERTIES MANAGEMENT,
INC., PPM I PARTNERSIIP, L.P.,
PPM Iv PARTNERSHIP, L.P. ,

PPM v PARTNERSHIP, L.P.,

PPM VIII PARTNERSHIP, L.P.,
DAVID S. WOLFE, INDIVIDUALLY
AND IN HIS OFFICIAL CAPACITY,
HAROLD E. SMITH, DAyE W. DOGAN,
STEPHEN SMITH, LAUREN L. REAGER,
M.D., WELLS FARGO BANK AS
TRUSTEE OF THE LAUREN L. REAGER,
M.D. PENSION PLAN TRUST,
SUNBURST BOLTON, LLC, MICHAEL
JONES, AND KENNETH JONES,

Defendants.

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ORDER GRANTING MOTION OF DEFENDANTS PUBLIC PROPERTIES MANAGEMENT,
INC. AND DAVID S. WOLFE FOR PARTIAL DISMISSAL OF CLAIMS AGAINST
DEFENDANTS PUBLIC PROPERTIES MANAGEMENT V, L.P. AND SUNBURST
BOLTON, LLC

 

Before the Court is the Motion of Defendants Public
Properties Management, Inc. and David S. Wolfe for Partial
Dismissal, filed April 18, 2005. Plaintiff responded in
opposition on May 18, 2005. Defendants Michael Jones and Kenneth
Jones also filed a response in opposition to the motion on May
18, 2005. For the following reasons, the motion of Defendants

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Public Properties Management, Inc. and David S. Wolfe for partial
dismissal is GRANTED.

The instant case relates to a real estate transaction
involving former business partners, Plaintiff John Hooper and
Defendant David Wolfe, regarding the purchase of certain
commercial real estate property in Pico Rivera, California, in
the mid-l990's. Mr. Hooper and Mr. Wolfe had worked together in
real estate since 1986. Generally, Mr. Hooper would analyze the
value of commercial real estate and determine whether a given
property should be purchased, and Mr. Wolfe would arrange the
financing for the projects.

Mr. Wolfe is the sole shareholder of Public Properties
Management, Inc. (“PPM, lnc.”), a Tennessee corporation. PPM,
Inc. is the general partner of numerous Tennessee limited
partnerships bearing similar names, including PPM I Partnership,
L.P. (“PPM I”), PPM III Partnership, L.P. {“PPM III”}, PPM IV
Partnership, L.P. (“PPM IV”), PPM V Partnership, L.P. (“PPM V”),
and PPM VIII Partnership, L.P. (“PPM VIII”).

Plaintiff alleges that Mr. Wolfe agreed to obtain financing
to purchase the Pico Rivera property and that profits from the
transaction would be split evenly between the two men. After
Plaintiff completed the due diligence work with the assistance of
Defendants Kenneth and Michael Jones (“the Joneses”} and
recommended that the property be purchased, however, Plaintiff

discovered that Mr. Wolfe had purchased the Pico Rivera property

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for himself through PPM III. Mr. Wolfe allegedly created PPM,
Inc., which was made a general partner to PPM III, with Mr. Wolfe
as the sole limited partner of PPM III. Dr. Lauren L. Reager, an
associate of Mr. Wolfe, financed the transaction via a loan of
$1.7 million issued by the Lauren L. Reager, M.D. Pension Plan
Trust administered by Trustee Wells Fargo Bank (“Wells Fargo”).

Plaintiff subsequently sought from Mr. Wolfe a fifty percent
interest in the Pico Rivera property. Plaintiff alleges that Mr.
Wolfe refused and stated that unless Plaintiff and the Joneses
shared a forty percent interest in the property, he would have
Dr. Reager foreclose on the loan to PPM III, thereby leaving
Plaintiff and his associates with nothing. Plaintiff agreed to a
less than fifty percent interest in PPM III, assertedly in order
to protect his interests, and filed suit against Defendants.
Therefore, prior to Plaintiff’s suit, PPM III had title to the
Pico Rivera property, with PPM, Inc. as the general partner and
Messrs. Wolfe, Hooper, Jones, and Jones as limited partners.

This case was originally brought by Plaintiff in the United
States District Court for the District of Connecticut. After the
case was transferred to the Western District of Tennessee,
Plaintiff filed a second amended complaint, adding PPM III and
the Joneses as defendants. The Joneses were voluntarily
dismissed without prejudice on March 23, 2001. 0n January 29,
2002, Plaintiff voluntarily dismissed PPM III as a defendant,

without prejudice, because Plaintiff was a limited partner of PPM

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III and therefore diversity jurisdiction may have otherwise been
jeopardized. On December l6, 2002, this Court ordered the Pico
Rivera property to be sold to a third party, leaving PPM III with
$1.7 million in net proceeds from the sale, to remain in escrow
while the litigation proceeded.

On March 18, 2003, Plaintiff moved to file a Third Amended
Complaint and to join four additional defendants: PPM V, Dr.
Reager, Wells Fargo, and Sunburst Bolton, LLC. (See Mot. to Am.
Compl. and for Joinder of Add’l Def.'s, March lB, 2003 (Docket
No. 283).) Defendants filed an opposition to that motion on
March 28, 2003.

On April 23, 2003, before the Court had ruled on Plaintiff’s
motion to amend his complaint, the United States Magistrate Judge
submitted a Report and Recommendation that Plaintiff's Second
Amended Complaint be dismissed for failure to join an
indispensable party. (Report and Recommendation, April 23, 2003
(Docket No. 329).) In particular, the Magistrate Judge found
thatr under Federal Rule of Civil Procedure l9, PPM III was a
necessary party who could not be joined without destroying
diversity jurisdiction and was indispensable to the litigation,
and therefore that dismissal of the action was required. (Id.)

On June l?, 2003, the Court adopted the Magistrate Judge's
report, as amended, and dismissed Plaintiff's case, but stayed
enforcement of the judgment pending the outcome of Plaintiff’s

appeal. (Order Adopting Magistrate Judge's Report and

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Recommendation, June 17, 2003 (Docket No. 355}.) Plaintiff’s
March 18, 2003, motion to amend his Complaint was therefore
mooted by the Court’s June 17, 2003, order dismissing the case.

On January 24, 2005, the United States Court of Appeals for
the Sixth Circuit reversed this Court's decision to dismiss
Plaintiff's action for failure to join an indispensable party,
and remanded the case “with instructions to consider the
feasibility of joining as defendants all of the remaining limited
partners of PPM III.” Hooper v. Wolfe, 396 F.3d 744 (6th Cir.
2005). Those remaining limited partners include Kenneth and
Michael Jones.

On March 14, 2005, the Court held a status conference in
this case. Pursuant to that conference, the Court ordered
Plaintiff to file an amended Complaint adding Kenneth and Michael
Jones as defendants. On March 24, 2005, Plaintiff filed his
Third Amended Complaint. In addition to adding the Joneses as
defendants, however, Plaintiff's Third Amended Complaint asserts
claims against the four purported defendants - Dr. Reager, Wells
Fargo, PPM V, and Sunburst Bolton, LLC - whom Plaintiff had
sought to add in his March 18, 2003, motion to amend, upon which
the Court did not rule. Plaintiff did not seek leave of court to
amend his Complaint to add the four new defendants when he filed
his March 24, 2005, Third Amended Complaint. Because Plaintiff's
March 18, 2003, motion to amend was not granted before the Court

originally dismissed Plaintiff's case, and the mandate of the

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Court of Appeals was only to determine the feasibility of joining
Defendants Kenneth and Michael Jones, the Court construes
Plaintiff’s Third Amended Complaint as a motion for leave to
amend his Complaint to add claims against Dr. Reager, Wells
Fargo, PPM V and Sunburst Bolton, LLC.

Defendants PPM, Inc. and David S. Wolfe move to dismiss
Plaintiff’s claims against Dr. Reager, Wells Fargo, PPM V and
Sunburst Bolton, LLC because allowing Plaintiff to assert claims
against them will purportedly cause undue delay, undue prejudice,
and will be futile. Specifically, Defendants PPM and Wolfe
contend that Plaintiff added claims against those Defendants long
after the Court’s deadline for amendment to pleadings expired,
without leave of court, and in contrast to the mandate of the
United States Court of Appeals for the Sixth Circuit.

The Court has ruled that it cannot properly exercise
`personal jurisdiction over Dr. Reager or Wells Fargo. (See Order
Granting Defs. Lauren L. Reager and Wells Fargo Bank as Trustee
of the Lauren L. Reager, M.D. Pension Plan Trust's Motion to
Dismiss.) Accordingly, Defendants’ motion is DENIED as moot as
to those defendants. The Court will therefore determine whether
Plaintiff's claims against PPM V and Sunburst Bolton, LLC should
be dismissed.

Federal Rule of Civil Procedure lB(a) provides that leave to
amend a pleading “shall be freely given when justice so

requires.” Fed. R. Civ. P. 15(a). Generally, leave to amend

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will be granted “[i]n the absence of ... undue delay, bad faith
or dilatory motive on the part of the movant, repeated failure to
cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the

amendment, [or] futility of amendment ...." Foman v. Davis, 371
U.S. l?B, 182 (1962). The Court finds that Plaintiff has not

engaged in bad faith, acted out of any dilatory motive, or failed
to cure deficiencies by amendments previously allowed.

However, leave to amend may be denied where the amendment
would be futile. Thiokol Corp. v. Dep’t of the Treasury, State
of Michidan, Revenue Division, 987 F.Zd 376, 383 (6th Cir.
1993)(citation omitted). Specifically, “where a proposed
amendment would not survive a motion to dismiss, the Court need
not permit the amendment.” ld;

In his Third Amended Complaint, Plaintiff asserts claims for
fraud, breach of contract, and breach of fiduciary duty.l Under
both Tennessee and federal law, a cause of action for fraud must
be stated with particularity. Fed. R. Civ. P. 9(b); Tenn. Civ.

Proc. Rule 9.02.2 To successfully plead fraud, the Sixth Circuit

 

1 In separate counts, Plaintiff also asserts claims for an
injunction, constructive trust, equitable lien, quantum meruit,
and unjust enrichment. Those claims, however, are either
derivative of or forms of relief for Plaintiff's claims of fraud,
breach of contract, and breach of fiduciary duty.

2 Under Tennessee law, “[t]he elements of fraud are an
intentional misrepresentation with regard to a material fact;
(continued...)

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requires, at a minimum, that a plaintiff allege: the time, place,
and content of the alleged misrepresentation on which he or she
relied; the fraudulent scheme; the fraudulent intent of the
defendants; and the injury resulting from the fraud. Coffey v.
§Qma;, 2 F.3d 15?, 162 (6th Cir. 1991); Michaels Bldd. Co. v.
Ameritrust Co., N.A., 848 F.2d 674, 6?9 (6th Cir. 1988).3

In his Third Amended Complaint, Plaintiff fails to assert
the time, place and content of any purportedly fraudulent
representations by or on behalf of PPM V or Sunburst Bolton, LLC.
Accordingly, if allowed to amend his Complaint to add fraud
claims against PPM V and Sunburst Bolton, LLC, the Court finds
that such claims would be subject to dismissal. Additionally,
Plaintiff’s Third Amended Complaint does not allege that
Defendants PPM V or Sunburst Bolton, LLC breached any agreement

between either entity and the Plaintiff or that any fiduciary

 

(continued...)

knowledge of the representation’s falsity, i.e., it was made
‘knowingly’ or ‘without belief in its truth' or ‘recklessly'
without regard to its truth or falsity; the plaintiff reasonably
relied on the misrepresentation and suffered damages; and the
misrepresentation relates to an existing or past fact." gag
Ridge Precision Indus., Inc. v. First Tenn. Bank Nat’l Ass'n, 835
S.W.Zd 25, 29 (Tenn. Ct. App. 1992).

3 The Sixth Circuit has found that the following details are
sufficient to survive dismissal: “the parties and the
participants to the alleged fraud, the representations made, the
nature in which the statements are alleged to be misleading or
false, the time, place and content of the representations, the
fraudulent scheme, the fraudulent intent of the defendants,
reliance on the fraud, and the injury resulting from the fraud.”

Michaels Bldg., 848 F.2d at 679.

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relationship existed between either entity and the Plaintiff.
Accordingly, any such claims would also be subject to dismissal.
The Court therefore finds that allowing Plaintiff to amend his
Complaint to add PPM V and Sunburst Bolton, LLC as defendants
would be futile.4

Because the Court has found that allowing Plaintiff to amend
his Complaint to add claims against Defendants PPM V and Sunburst
Bolton, LLC would be futile, Plaintiff's claims against those

Defendants are hereby DISMISSED.5
so oRoERED this 13 day Of July, 2005.

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JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

4 The Court's finding that Plaintiff's amendment would be
futile because his claims against PPM V and Sunburst Bolton, LLC
for fraud, breach of contract and breach of fiduciary duty would
not survive a motion to dismiss likewise applies to Plaintiff's
claims for an injunction, constructive trust, equitable lien,
quantum meruit, and unjust enrichment.

5 Because the Court has dismissed Plaintiff's claims against
Defendants PPM V and Sunburst Bolton, LLC, the Court does not
address Defendants’ contention that those claims are subject to
the doctrine of res judicata.

   

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